              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:13-cr-00042-MR-DLH-9


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                 ORDER
                            )
                            )
GERALD WILLIAM LOCKLEAR. )
___________________________ )

     THIS MATTER is before the Court on the Defendant’s Motion to Seal

Document [Doc. 174].

     For the reasons stated therein, and for cause shown, the Defendant’s

motion is granted.

     IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Seal

Document [Doc. 174] is GRANTED, and the Defendant’s Motion to

Continue [Doc. 166] shall remain under seal pending further Order of this

Court.

     IT IS SO ORDERED.         Signed: December 30, 2013




   Case 1:13-cr-00042-MR-DLH    Document 180               Filed 12/30/13   Page 1 of 1
